
656 So.2d 591 (1995)
Michael YAKUBIK, Appellant,
v.
BOARD OF COUNTY COMMISSIONERS OF LEE COUNTY, Raymond Judah, John Albion, Franklin Mann, John Manning, Douglas St. Cerny, James Yaeger, Robert Gray, John Renner, Thomas Spencer, John Turner, and Thomas Wright, Appellees.
No. 94-04441.
District Court of Appeal of Florida, Second District.
June 23, 1995.
Charles L. Bigelow, Fort Myers, for appellant.
Thomas E. Spencer, Fort Myers, for appellees.
PARKER, Judge.
Michael Yakubik appeals the trial court's judgment awarding attorney's fees in favor of appellees. Yakubik argues that the trial court erred in establishing the amount of attorney's fees based solely on the affidavit of the attorney who represented the appellees and without expert testimony on the amount. Yakubik further argues that the trial court erred in establishing the amount of the fees without first determining that appellees were entitled to the fees. We agree that the trial court erred in establishing the amount of the fees without expert testimony and reverse for that reason. We conclude, however, that Yakubik waived any argument on the issue of appellees' entitlement to the fees.
The testimony of an expert witness concerning reasonable attorney's fees is necessary to support the establishment of the fees. Crittenden Orange Blossom Fruit v. Stone, 514 So.2d 351 (Fla. 1987); Palmetto Fed. Sav. &amp; Loan Ass'n v. Day, 512 So.2d 332 *592 (Fla. 3d DCA 1987). The only evidence offered to support the award of the attorney's fee was the attorney who performed the services. The trial court erred in establishing the amount of attorney's fees in this case based solely on the testimony of the attorney seeking the fees and without testimony from an expert witness on the reasonable amount of the fees. See Palmetto Fed. Sav. &amp; Loan Ass'n.
Reversed and remanded.
DANAHY, A.C.J., and WHATLEY, J., concur.
